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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                             No. CR 03-1890 JB

JOSE MORALES-GONZALES,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the United States’ Motion for Competency

Evaluation, filed September 2, 2004 (Doc. 168). The primary issue is whether the Court should find

the Defendant, Jose Morales-Gonzalez, incompetent to stand trial and, if so, whether to commit him

to the Attorney General’s custody for psychiatric examination. Because the Court finds, on the

record before it at this time, that Morales-Gonzales is not competent to stand trial at this time, the

Court will grant the motion for a competency evaluation.

                               PROCEDURAL BACKGROUND

       On July 12, 2004, the Court entered an order, pursuant to Morales-Gonzales’ motion,

allowing Dr. Susan Cave of Albuquerque, New Mexico to conduct a mental evaluation. On August

30, 2004, the United States received Dr. Cave’s report. According to her report, she met with

Morales-Gonzales once to conduct her mental evaluation.

       Dr. Cave concluded that Morales-Gonzales is not competent to stand trial. The United States

has reviewed her mental evaluation, the audiotape recordings of Morales-Gonzales discussing drug

related matters with others during the course of the wire interceptions, his high school record, and
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his post arrest interview with Agent Davis. The United States believes that Morales-Gonzalez is

malingering and may be competent to stand trial.

       The United States requests that the Court enter an order, pursuant to 18 U.S.C. § 4241,

directing Morales-Ortiz to surrender to the United States Marshal’s custody so that they may commit

him to custody of the Bureau of Prisons in Springfield, Missouri. The Bureau of Prisons will then

have its mental health experts conduct a psychological examination to determine Morales-Gonzales’

mental competency. In the alternative, the United States asks that, given Dr. Cave’s findings, the

Court enter an order pursuant to 18 U.S.C. § 4241(d) for Morales-Gonzales to be committed to the

custody of the Bureau of Prisons for a period of ninety days for medical experts to conduct a long-

term evaluation to determine whether Morales-Gonzales is competent to stand trial. The United

States further requests that the Court find the ends of justice and good cause require the waiving of

Morales-Gonzales’speedy trial rights pursuant to 18 U.S.C. § 3161(h)(8).

                       LAW REGARDING MENTAL EXAMINATIONS

       Under 18 U.S.C. § 4241(a), on the defendant’s, the Government’s, or the court’s own

motion, the trial court must order a hearing to determine the defendant’s competency to stand trial

if there is reasonable cause to believe that the defendant is incompetent. Section 4241(b) provides

that the court may order a psychological examination pursuant to 18 U.S.C. §§ 4247(b) and (c)

before the hearing. Section 4241(c) requires the competency hearing to be conducted pursuant to

18 U.S.C. § 4247(d), which provides for representation of the defendant by counsel, an opportunity

for him to testify, to present evidence, to subpoena witnesses on his behalf, and the opportunity to

confront and to cross-examine witnesses. The court then makes its determination and disposition

pursuant to 18 U.S.C. § 4241(d).


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       Section 4241(d) of Title 18 reads:

       (d) Determination and disposition. If, after the hearing, the court finds by a
       preponderance of the evidence that the defendant is presently suffering from
       a mental disease or defect rendering him mentally incompetent to the extent
       that he is unable to understand the nature and consequences of the proceedings
       against him or to assist properly in his defense, the court shall commit the defendant
       to the custody of the Attorney General. The Attorney General shall hospitalize the
       defendant for treatment in a suitable facility –
                (1) for such a reasonable period of time, not to exceed four months, as is necessary
                to determine whether there is a substantial probability that in the foreseeable future
                he will attain the capacity to permit the trial to proceed; and
                (2) for an additional reasonable period of time until –
                        (A) his mental condition is so improved that trial may proceed, if the court
                        finds that there is a substantial probability that within such additional period
                        of time he will attain the capacity to permit the trial to proceed; or
                        (B) the pending charges against him are disposed of according to law;
                whichever is earlier.
       If, at the end of the time period specified, it is determined that the defendant’s mental
       condition has not so improved as to permit the trial to proceed, the defendant is subject to the
       provisions of section 4246 [18 U.S.C. § 4246].

18 U.S.C. § 4241(d).

       18 U.S.C. § 4246 specifies the procedures the court must follow in the case of a person who

has been committed pursuant to § 4241(d) (or who is due for release) but is suffering from a mental

disease or defect as a result of which his release would create a substantial risk of bodily injury to

another person or serious damage to the property of another, and suitable arrangements for state care

and custody of the defendant are not available. Upon certification to this effect by the director of the

facility where the defendant is hospitalized, the court must order a hearing on the dangerousness

issue. See 18 U.S.C. § 4246(c). As with § 4241, the court may order a pre-hearing psychological

examination under §§ 4247(b) and (c), and it must conduct the hearing pursuant to § 4247(d). See

18 U.S.C. §§ 4246(b), (c). If the court finds the defendant to be incompetent and dangerous, it must

release him to the custody of the Attorney General. See 18 U.S.C. 4246(d). The Attorney General


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must then release the defendant to the custody of the state in which he is domiciled or was tried. See

id. If the state will not accept the defendant, the Attorney General must hospital him until the state

will assume such responsibility or until the defendant is no longer dangerous. See id. The Attorney

General shall periodically exert all reasonable efforts to cause a state to assume responsibility. See

id.

        In United States v. Shawar, 865 F.2d 856 (7th Cir. 1989), the district court found the

defendant mentally incompetent to stand trial. See id. at 858. The district court refused to commit

the defendant to the Attorney General and dismissed the charges. See id. The United States Court

of Appeals for the Seventh Circuit reversed and remanded with directions. See id. at 857.

        The Seventh Circuit held that a district court finding the defendant incompetent to stand trial

has no discretion not to commit the defendant to the Attorney General’s custody under the Insanity

Defense Reform Act. Id. at 859. This Act states that a court finding a defendant incompetent shall

commit defendant to the Attorney General’s custody for a reasonable period of time not to exceed

four months to determine whether there is substantial probability that the defendant will attain

capacity to stand trial. See id. at 859 (“[T]he statutory scheme established by Congress clearly

mandates that a defendant found to be incompetent be placed in a mental hospital for

observation.”)(internal citations omitted); id. at 863 (“[T]he language of § 4241(d) on commitment

is mandatory, not discretionary.”); 18 U.S.C. § 4241(d). “The statute plainly states that ‘the court

shall commit the defendant to the custody of the Attorney General [who] shall hospitalize the

defendant for treatment . . . .” United States v. Shawar, 856 F.2d at 860 (quoting 18 U.S.C.

§4241(d)). The Seventh Circuit also looked, in a footnote, at the legislative history, and found that

it confirmed its reading of the statute:


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                The legislative history is equally unambiguous (and equally terse) on this point. It
                says, “if the court makes a finding of competency, it must then commit the defendant
                to the custody of the Attorney General . . . ,” S.Rep. No. 225 at 236, U.S. Code
                Cong. & Admin. News 1984, p. 3418 (emphasis added). See also In re Newchurch,
                807 F.2d 404, 410 (5th Cir. 1986)(provision in § 4247(b) providing that district judge
                may make temporary commitment for examination purposes makes power
                discretionary, not mandatory, because word “may,” not “shall,” was used). Thus,
                there is no need to apply, as the Supreme Court was forced to do in Greenwood, “the
                canon of construction of the wag who said, when the legislative history is doubtful,
                go to the statute.” 350 U.S. at 374 . . . .

United States v. Shawar, 856 F.2d at 860 n.4 (emphasis in the original).

        As the Shawar Court stated: “The plain meaning of [18 U.S.C. § 4241(d)] is, and we hold it

to be, that once a defendant is found incompetent to stand trial, a district judge has no discretion in

whether or not to commit him.” 865 F.2d at 860. The Seventh Circuit stated that Congress seems

to have made the following crucial distinction:

        The district judge has the power, by means of the competency hearing, to determine
        which defendants are competent to stand trial. He retains full authority to deal with
        those defendants he deems competent to stand trial. On the other hand, Congress
        has given authority over defendants declared incompetent by the district judge to the
        Attorney General. This division of authority permits the district judge to carry out
        traditional federal judicial functions, and insures that the procedures used to commit
        the incompetent defendant to the custody of the Attorney General will comport with
        due process, yet recognizes the limitations on the federal courts in the field of mental
        health. It does so by giving to the Attorney General the ability to seek treatment of
        incompetent defendants through appropriate state mental health procedures. The statutory
        scheme also . . . gives the Attorney General the authority, if a defendant is
        found incompetent and committed to his custody, to conduct an in-depth evaluation
        of the defendant to assess the likelihood that he will regain competency and whether
        he is dangerous.

United States v. Shawar, 865 F.2d at 860-61 (internal citations omitted).

        The Seventh Circuit stated the requirement that the defendant be committed to the Attorney

General’s custody is not limited to cases in which there is probability that there will be change in the

defendant’s mental condition. See id. at 861 (“Our reading of 18 U.S.C. § 4241(d) is not only that


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commitment is mandatory, but also that likelihood of recovery is not something to be considered by

the district court in deciding whether to commit the defendant for the evaluation period.”). The

Seventh Circuit also stated that the defendant’s likelihood of recovery to stand trial was not

something the district court could consider in deciding whether to commit the defendant for

evaluation. See id. (“The statute makes it clear . . . that once a defendant is found incompetent, the

Government is entitled to an in-depth evaluation of him, in order to determine whether he is likely

to recover.”). As the Seventh Circuit explained:

       An in-depth evaluation of [the defendant] may be beneficial, given that the
       examinations of him were relatively brief and possibly hindered by cultural
       and language differences. Moreover, not to commit [the defendant], and to
       dismiss the case against him, would be to remove him from the system entirely.
       Thus, he might never receive proper mental care, whether at the hands of the
       federal government or of the state of Wisconsin.

865 F.2d at 861. The Court of Appeals stated the United States’failure to show that the defendant

would improve with hospitalization did not permit the district court, under the Insanity Defense Act,

to deny commitment to the Attorney General’s custody and to dismiss the charges. See id.

       The Court of Appeals also stated that the district court could not consider the defendant’s

dangerousness at the initial hearing for commitment of the defendant found incompetent to stand trial.

See United States v. Shawar, 865 F.2d at 862; 18 U.S.C. §§ 4241, 4243(c),(e), 4246(a),

4247(c)(4)(C). Section 4242(d) “provides only that the court find that the defendant is unable to

understand the nature and consequences of the proceedings against him or to assist properly in his

defense.” 865 F.2d at 862. See id. at 863. (“We hold that a judge who finds a defendant

incompetent to stand trial under 18 U.S.C. § 4241 must commit him to the custody of the Attorney

General.”). The Seventh Circuit stated the dangerousness issue arises under the Insanity Defense



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Reform Act only when the defendant has already been committed and the director of the facility

certifies dangerousness for purposes of further commitment of the defendant found not guilty by

reason of insanity. See id. at 862.

       The Eighth Circuit, in U.S. v. Ferro, concluded that all other circuits which have considered

the issue have specifically held that the statute is mandatory. United States v. Ferro, 321 F.3d 756,

761 (8th Cir. 2003)(finding that involuntary hospitalization was mandatory where district court had

determined that defendant was incompetent); id. at 761 (“[U]pon our own reading of the statute, we

conclude that after determining that a defendant is incompetent to stand trial, a district court is

required to commit the defendant to the custody of the Attorney General for a reasonable period of

time to evaluate whether treatment would allow the trial to proceed.”). See United States v. Filippi,

211 F.3d 649, 651 (1st Cir. 2000); United States v. Donofri, 896 F.2d 1301, 1302 (11th Cir.

1990)(holding that the statute is “mandatory” and that, once the district court found that the

defendant was incompetent to stand trial, it did not have authority to circumvent his commitment to

the custody of the United States Attorney General for hospitalization until it could be determined

whether probability existed that the defendant would regain capacity to be tried); United States v.

Azure, 279 F.Supp.2d 1093,1094 (D.N.D. 2003)(“[T]he Eighth Circuit has specifically held that the

district court does not have the discretion, prior to a reasonable period of hospitalization in the

custody of the Attorney General, to determine whether the Defendant will likely attain the capacity

to stand trial.”)(citing United States v. Ferro, 321 F.3d at 761).

                                            ANALYSIS

       “This Court must first determine, by a preponderance of the evidence, whether the Defendant

suffers from ‘a mental disease or defect rendering him mentally incompetent to the extent that he is


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unable to understand the nature and consequences of the proceedings against him or to assist properly

in his defense’.” United States v. Azure, 279 F.Supp. at 1094 (quoting 18 U.S.C. § 4241(a), (d)).

If the Court concludes that Morales-Gonzales is competent, then the case will proceed to trial. See

id. If the Court concludes that Morales-Gonzales lacks sufficient mental competency to proceed to

trial, the statutory directive is clear. See id.; 18 U.S.C. § 4241(d). “[I]f there is a finding of

incompetence to stand trial, there must be a period of hospitalization.” United States v. Azure, 279

F. Supp.2d at 1095.

       Based on the evidence in the record, the Court finds that Morales-Gonzales is not, at this

time, mentally competent to participate in a judicial proceeding to determine the validity of the

criminal charges filed against him; that Morales-Gonzales is not mentally competent to understand

the nature and consequences of the proceedings against him; and that Morales-Gonzales is presently

unable to properly assist in his defense. Dr. Cave’s expert testimony establishes that Morales-

Gonzales lacks the competence necessary to stand trial under the standards enumerated in 18 U.S.C.

§ 4241(d) and that Morales-Gonzales suffers from severe learning disabilities. The United States did

not present expert testimony to rebut her opinions. The United States’ pointing to evidence of

Morales-Gonzales’role in the alleged drug conspiracy certainly raises some questions as to Morales-

Gonzales’ overall competence and functional capabilities. The weight of the evidence, however,

supports a finding of incompetence to stand trial at this time.1


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         This finding is not disturbed by the Supreme Court of the United States’holding in United
States v. Sell, 539 U.S. 166 (2003). In Sell, the Court considered the constitutionality of
administering medication involuntarily. Id. at 169. Unlike this case, however, the Defendant in Sell
was in the Attorney General’s custody for approximately two months before such an issue was raised,
during which time there was adequate opportunity for an in-depth evaluation of the Defendant. Id.
at 170-71. Because this Motion deals with committing the Defendant to the custody of the Attorney
General, the holding in Sell’s does not affect our analysis at this stage of the case.

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       IT IS ORDERED that, pursuant to 18 U.S.C. § 4241(d), the Court immediately remands the

Defendant, Jose Morales-Gonzales, to the custody of the Attorney General to be hospitalized in a

suitable facility for a reasonable period of time, not to exceed four months, to determine whether

there is a substantial probability that, in the foreseeable future, Morales-Gonzales will attain the

capacity to permit the trial to proceed and will be competent to stand trial. The ends of justice and

good cause require the waiving of Morales-Gonzales’ speedy trial right pursuant to 18 U.S.C. §

3161(h)(8).




                                              __________________________________________
                                              UNITED STATES DISTRICT JUDGE




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